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           ORDERED in the Southern District of Florida on January 16, 2019.




                                                          A. Jay Cristol, Judge
                                                          United States Bankruptcy Court
_____________________________________________________________________________
                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI-DADE DIVISION

            In re:                                          Case No.: 18-24067-AJC
                                                            Chapter 7

            GLADYS VAZQUEZ

                 Debtor
            _____________________/

                    AGREED ORDER GRANTING TRUSTEE'S AGREED EX-PARTE
                 MOTION FOR EXTENSION OF TIME IN WHICH TO OBJECT TO
             EXEMPTIONS PURSUANT TO LOCAL RULE 9013 1(C)(5) AND DISCHARGE
                         PURSUANT TO LOCAL RULE 9013-1(C)(6)

                     THIS MATTER having come before the Court in Miami, Florida, pursuant
            to the Trustee’s Agreed Ex-Parte Motion for Extension of Time in Which to Object
            to Exemptions Pursuant to Local Rule 9013-1(C)(5) and Discharge Pursuant to
            Local Rule 9013-1(C)(6), the Court having reviewed the pleading, the Court
            having noted that the Debtor agrees to a thirty (30) day extension, the Court
            having noted that the Trustee has complied with Local Rules 9013-1(C)(5) and
            9013-1(C)(6), and the Court being otherwise fully advised in the premises, it is
                     ORDERED as follows:
                     1.     The Trustee’s Motion is granted.     The Trustee shall have up
            through and including February 17, 2019 in which to object to the exemptions of
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the Debtor.
      2.      The Trustee shall have up through and including March 19, 2019 in
which to object to the discharge of the Debtor.



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Submitted By:
Soneet R. Kapila, Trustee
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Copies furnished:

Soneet R. Kapila, Trustee is directed to mail a conformed copy of this Order to
the parties below and file a Certificate of Service.

U.S. Trustee, 51 S.W. First Ave., Room 1204, Miami FL 33130
Robert Sanchez, Esq. 355 W. 49 Street, Hialeah, FL. 33012
